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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHRISTINE A. CALLAGHAN : _ CIVIL ACTION
401 White Pine Court : 2016-cv-
Warminster, PA 18974 '
15 U.S.C. § 1692a, et seq.

v. `= 11 U.S._c. § 524
SHELLPOINT, LLC dba : 73 P.S. 201-1, et Seq.
SHELLPOINT MORTGAGE
SERVICING

P.O. BOX 10826
Greenvi_l_le, SC 29603-0826

v.
TH`E BANK OF N.EW YO`RK
(`MELLON), AS TRUSTEE
225 'Liberty Street
New York, New York 10281
Defendants :
COMPLAINT IN CIVIL ACTION
I. INTRODUCTORY STATEMENT
1. Plaintiff, Christine A. Callaghan (“Plaintiff” of “Callaghan”), is

a consumer and individual residing at 401 White Pine Court, Warminster,

PA 18974.

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2. Defendant, Shellpoint, LLC, is a mortgage servicerl, inter alia,
doing business as Shellpoint Mortgage Servicing (“Shellpoint”), with its
principal place of business at'its location at 55 Beattie 'Place, Su:ite 5()(),
Greenville, SC 2960]_, and its mailing address at P.O. Box 10826 in
Greenville, South Carolina 29603-{)826.

2. Defendant, Shellpoint has uniformly engaged and uniformly
continues to engage in a practice of illegal and deceptive business practices
that violate federal and state law, more fully discussed below.

3. Defendant, Bank of New York (“BNY”) is a holder of
residential mortgages, inter alia, and BNY utilizes the services of Shellpoint
as a mortgage servicer.

3. Furthermore, Defendants have uniformly engaged in unfair
business practices by intentionally and deliberately attempting to collect debt
alleged to be owed by Plaintiff and members of the Class which debt is not
authorized by law or contract

4. This scheme is carried out by Defendants by means of centrally

controlled sets of policies and practices

 

l “A mortgage servicer is a company to which some borrowers pay their
mortgage loan payments and which performs other services in connection
with mortgages and mortgage-backed securities.” www.Wikipedia.org.
2013. “Servicers” may be the originator, holder, investor, as well.

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5. The scheme is carried out knowingly misusing, abusing and
violating the law as it relates to collection practices
6. The scheme is carried out knowingly misusing, abusing and
ignoring the law as it relates to the following:
a. The discharge injunction imposed by 11 U.S.C. § 524 of
Title 11, the United States Bankruptcy Code;
b. The requirements of the federal Fair Debt Collections
Practices Act (“FDCPA”), 15 U.S.C. § 1692a, et seq.;
c. 73 P,S, § 201-1, et squ
d. the NeW Jersey Consumer Fraud Act, ILS.A. 56:8-1, et
seq., and
e. other law including case law.
7. The scheme is as follows:
a. Plaintiff received her discharge from her Chapter 7
bankruptcy proceeding (with her husband, John Callaghan) on May 31,
2011, Bankruptcy Number l l-l 1139 ELF, in the United States Bankruptcy
Court for t_he Eastem District of Pennsylvania;
b. Discharged was the indebtedness owed to BNY for a

mortgage obligation on a property owned by Plaintiff, located at 5301

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Atlantic Avenue #8, Wildwood, New .lersey 08260 (the “subject property”),
inter alia;

c. In November of 2015, pursuant to a mortgage foreclosure _
action, a sheriffs sale of the subject property was conducted and the subject
property was sold by the mortgage holder, Mellon;

d. Nonetheless, BNY, through Shellpoint, its current
mortgage servicer for the mortgage of which Plaintiff was mortgagor, has
continued to attempt to collect on the said mortgage obligation and note, the
latter discharged on May 31, 2011.

8. Plaintiff asserts that this practice constitutes violation of:

a. Section 524 of the United States Bankruptcy Code, 11
U.S.C. § 524, subject to a citation(s) for contempt of court pursuant to ll
U.S.C. § 105;

b. 15 U.S.C. § l692a, et seq.,'

c. 73 P,S, § 201-1, etsqu

d. M.__S_¢_A_. 56:8-1, et seq., and

e. other law including case law.

9. Plaintiffs seek injunctive relief to prevent the continuation and

recurrence of the challenged conduct, and to assure uniform standards by

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which Defendants will cease collection activity of persons with similar
circumstances, to wit: The Class.

10. Plaintiff also Seeks restitution for damages, including, but not
limited to, compensatory damages, costs incurred, statutory damages,
punitive damages, attorney’s fees and costs, and whatever other relief this
Court may deem appropriate
II. PARTIES

11. Plaintiff is as described in paragraph, above. At all times
relevant, Plaintiff is a consumer as that term is defined by Title 15 of the
United States Code.

12. Defendant, Shellpoint, is a “debt collection” as that term is
denned by 15 U.S.C. 1692a(6)(F), as Shellpoint became mortgage servicer
of BNY at a time when Plaintiff was in default of her mortgage obligations
At the time of the Plaintiff’s mortgage default, as evidenced by Plaintiffs
bankruptcy proceeding in the United States Bankruptcy Court for the
Eastern District of Pennsylvania, docketed as 07-17155 ELF, specifically
Schedule “D”, setting forth that Countrywide Home Loans was servicer for
Countrywide Home Loans, Inc., for the subject property with mortgage
arrears of $1,134 and an outstanding mortgage balance of $163,000.00. _See

a true and correct copy of the Claims Register, attached hereto as Exhibit

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“A”. See also Exhibit “B”, a true and correct copy of the docket entries of
Plaintiffs second bankruptcy, a Chapter 7 , from which she received her
discharge on May 31, 2011, docketed as 2011-11139 ELF. See Schedule
“D” of the Chapter 7 bankruptcy, incorporated herein by reference

13. Furtherrnore, Defendant, BNY is a “debt collector” as that term
is defined by 15 U.S.C. 1692a(6)(F), as Mellon was the transferee of the
subject mortgage on the subject property at a time when Plaintiff was in
default of her mortgage obligations Plaintiff s mortgage default is
evidenced by Schedule “D” of Plaintiffs bankruptcy proceeding in the
United States Bankruptcy Court for the Eastern District of Pennsylvania,
docketed as 07-17155 ELF, and the proof of claim filed therein by
Countrywide Home Loans, when Countrywide Home Loans was the
mortgage servicer for Countrywide Home Loans, lnc., the mortgage holder.
See a true and correct copy of the Claims Register, attached hereto as
Exhibit “A”. Subsequently, the mortgage was transferred from Countrywide
to Bank of America to Mellon, all transfers occurring when the mortgage
was in default See also Exhibit “B”, a true and correct copy of the docket
entries of Plaintiffs second bankruptcy, a Chapter 7 , from which she
received her discharge on May 31, 2011, docketed as 2011-11139 ELF. See

Schedule “D” of the Chapter 7 bankruptcy, incorporated herein by reference

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III. JURISDICTION AND VENUE
14. .Turisdiction is conferred upon this Court by and pursuant to 15

15 U.s.o. § 16921<(<1).

15. Venue is appropriate in this district as the violations as to the
Plaintiff underlying this action were made in this District; Defendants

conducts business in this district.

IV. STATEMENT OF FACTS

The averments of paragraphs one through and including fifteen,
above, are incorporated herein by reference as if set forth herein at length.

_16. Plaintiffs original mortgage holder was Countrywide Home
Loans, Inc.

17. The service of the original mortgage was Countrywide Home
Loans.

18. On December 4, 2007, Plaintiff, with her husband, filed for
relief under and pursuant to ll U.S.C. Chapter 13, in the Eastern District of
Pennsylvania, docketed as 07-17155 ELF: See the docket entries attached
hereto as Exhibit “C”.

a. This filing evidenced that Plaintiff had incurred mortgage

arrears and was in default of her mortgage obligations;

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b. Bankruptcy number 07-17155 'ELF was dismissed on July

31, 2010, for failure to make trustee payments; mortgage arrears were not
paid and, therefore, the subject mortgage'on the subject property remained in
default on Plaintiffs filed for protection pursuant to the United States

19. At some point in time between July 31, 2010 and February 17,
2011, the subject mortgage on the subject property was transferred from
Countrywide Home Loans, Inc., and the servicer, Countrywide Home Loans,
to, it is believed Bank of America, then the mortgage was again transferred
to BNY. At all times relevant, the mortgage was in default

20. At some point in time, believed prior to February 17, 2011, the
subject mortgage is believed to have been transferred to BNY while the
subject mortgage remained in default.

21. While the subject mortgage on the subject property remained in
default, Defendant, Shellpoint became the mortgage servicer.

22. On February 17, 2011, Plaintiff, with her husband, filed a
Chapter 7 bankruptcy in the Eastern District of Pennsylvania, docketed as
2011-11139 ELF. At all times relevant, the subject mortgage remained in

default.

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23. Plaintiff and her husband received their discharge on May 31,
2011, discharging, inter alia, the debt represented by the Note of the subject
mortgage on the subject property.

24. -Pursuant to a mortgage foreclosure action in the State of New
Jcrsey against the Plaintiff and her husband, docketed as-The Bank of New
York Mellon, As Trustee v. John.f Callaghan and Christine Callaghan,
H/W, Superior Court in New Jersey, Cape May County Division, Docket No.
F-040945-l4, a sheriffs sale of the subject property was successfully held
and concluded in November of 2015.

25. By “Mortgage Statement” dated January 17, 2016, copy
attached hereto as Exhibit “D”, Defendants are attempting to collect a debt
for which there is no authority in law or contract.

26. By “Mortgage Statement” dated January 17, 2016, copy
attached hereto as Exhibit “D”, Defendants are fraudulently seeking monies
for which there is no entitlement, to wit:

a. Defendants are knowingly making misrepresentations to
Plaintiff of material facts in an attempt to effect collection of a debt that is

not authorized by law or contract;

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b. Thus, Exhibit “D” is Defendants’ attempt to cause
Plaintiff to react to the misrepresentation by making payment or payment
arrangements to Defendants. n

27. The Mortgage Statement represented by Exhibit “D” is

absolutely clear in its misrepresentations, to witt

a. lt asserts an amount of $124,917.76 due for February 1,
2016;

b. lt asserts the outstanding principal balance due as
$167,663.66;

c. lt asserts that the payment is due for September 1, 2008;

d. lt asserts that there is a negative escrow balance due from
Plaintiff in the amount of $29,568.66.

28. Although the sheriffs sale divesting of the ownership of the
subject property was in November of 2015, Plaintiff is nonetheless being
charged for activities that occurred after November, 2015, to wit:

12/18/15 - Securing Disbursement $3 5 .00
12/ 1 8/ 1 5 Securing Disbursement $40.00
12/1 8/ 15 Winterization Disbursement $100.00
12/22/15 Insurance Premium Disbursement

3115.38

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12/23/ 15 Title Fee Disbursement $400.00.

29. Exhibit “D” shows no payments pursuant to the charges set
forth above_.

30. There is a “Delinquency Notice” that states:

“You are late on your mortgage payments. Failure to bring
your loan current may result in fees and foreclosure -the loss
of your home. As of 1/17/2016, you are 2,694 days delinquent
on your mortgage loan.”
' 31. The “Delinquency Notice” is followed by a “Recent Account
History”.

32. There is absolutely no disclaimer or bankruptcy exclusion or
any other statement by Shellpoint providing an alternative interpretation of
the Mortgage Statement.

33. The Mortgage Statement is clearly an attempt to collect a debt
for which neither Shellpoint nor BNY have any right under color of law or
contract.

34. The debt that is the subject of the collection attempt was
discharged in bankruptcy

35. Defendants received Notice of the Bankruptcy Discharge of
debt that is the subject of collection.

36. At all times relevant, Shellpoint has been acting for and on

behalf of BNY.

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v. CAUsEs oF ACTIoN
COUNT I - VIOLATION OF 15 U.S.C. § 1692a. ETSEQ

The averments of paragraphs one through and including thirty-five
above are incorporated herein by reference

36. At all times relevant, Defendants, BNY and Shellpoint, are
“debt collectors” as that term is defined by 15 U.S.C. § 1692a(6)(F).

37. Plaintiff is a consumer as that term is defined by 15 U.S.C. §
16923(3). 7

38. 15 U.S.C. § 1692e provides: “A debt collector may not use any
false, deceptive, or misleading representations or means in connection with
the collection of any debt.” In fact, Defendants have utilized and continue to
utilize false, deceptive and misleading representations in correspondence to
Plaintiff:

a. 15 U.S.C. § 1692e(2)(A):The character, amount and legal
status of the debt repetitively claimed by Chase as due and owing;

b. 15 U.S.C. § 1692€(2)(B): The false representations
that the monthly statement attached to the Complaint represents the amounts
due and owing, which are sequentially false and violative of the FDCPA.

T here are false representations as Defendants knowingly know they are not

owed any such sums;

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c. 15 U.S.C. § 1692e(10): False and deceptive means to
collect or to attempt to collect these debts to the extent that the cited bases
for the debt are false.

39. 15 U.S.C. § l692f, provides: “A debt collector may not use
unfair or unconscionable means to collect or attempt to collect any debt.”
The following conduct by Defendants evidence the violation by Defendants
of the FDCPA:

a. Defendants used and continues to use unfair and
unconscionable means to collect or attempt to collect the debt based on false
representations as to the alleged debt; specifically, as set forth on Exhibit
“D,,;

b. 15 U.S.C. § l692f(1): The collection of any amount
unless such amount is expressly authorized by the agreement creating the
debt or permitted by law”. The debts attempted to be collected and/or have
been collected are not authorized or permitted by law.

40. 15 U.S.C. § 1692k specifically authorizes a private action to
recover damages sustained because of these violations.

41. The acts and actions that are in violation of the FDCPA

occurred within one year of the filing of this Complaint.

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42. The acts and actions by the “Debt-Collectors” Were clearly
knowing and intentional

43. The specific act and action by the Defendants constituting the
bases for this Complaint are set forth above, and are incorporated herein by
reference, correlated with the attached exhibits, for the detail of these acts
and actions, including, the time, date, place author and the specificity of the
false communications, misrepresentations and violations of the FDCPA of
which Plaintiffs complain

44. lt is believed and therefore averred that Defendants facilitated
these wrongful actions for the purpose of enhancing their collections,
regardless of the falsity of the statement

45. Plaintiff suffered damages in the form of the respective costs to
secure legal representation and the additional costs to Plaintiff.

46. lt is believed and therefore averred that Plaintiff is entitled to
recover damages as a result of the violations of the FDCPA by Defendants
named above in the form of compensatory damages, statutory damages,
attorney’s fees and costs and interest.

47 . lt is believed and therefore averred that the false monthly
statement was knowingly and intentionally in violation of Plaintiffs rights

and the FDCPA.

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WHEREFORE, Plaintiff prays this Honorable Court grant appropriate
damages, including, but not limited to requiring that the “Debt Collector”
Defendants pay compensatory damages, restitution, statutory damages,
attorney’s fees and experts’ fees, and punitive damages as appropriate, and
granting such other relief as the Court may deem appropriate

COUNT II - UNFAIR AND DECEPTIVE TRADE PllACTICES

The averments of paragraphs one through and including forty-seven
above are incorporated herein by reference as if set forth herein at length.

48 Defendants have advertised, offered for sale or distribution their
respective products and services

49. Defendants have engaged in unfair and/or deceptive acts and
trade practices, unfair methods of competition, and have practiced other unfair
or deceptive acts or practices

50. The acts and practices include, but are not limited to:

a. Knowingly making false and misleading representations of
fact, in writing;

b. `Knowingly misrepresenting that the monthly statement is
true and accurate statements of the status of the loan account with Defendants;

c. Utilizing false and misleading characterizations for the

amount claims to be due, intending to mislead the consumer;

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d. Taking any action that cannot legally be taken or justified;

e. Wrongfully and knowingly misapplying payments;

f Otherwise engaging in other fraudulent conduct “which
creates a likelihood of confusion or of misunderstanding”;

g. Engaging in any other conduct deemed to constitute unfair
trade practices, unfair methods of competition, or other unfair or deceptive acts
or practices

51. The facts constituting the basis for these unfair trade practices are
as set forth above, and the attached exhibits Defendants have engaged in
other activity further exacerbating its participation in unfair trade practices

52. These unfair trade practices in which Defendants have
participated are all intertwined with the factors constituting misrepresentation:

a. By acts, Defendants have made representations of a
material nature that Defendants knew (or should have known) were
misrepresentations These misrepresentations were made to Plaintiff

b. These misrepresentations were made with the intent to
cause Plaintiff to reasonably rely to their detriment, which occurred, causing
Plaintiff to suffer damage, including, but not limited to, paying sums of money

for legal representation, et al.

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c. These misrepresentations were made with the intent to
cause Plaintiff to reasonably rely to her detriment which occurred, causing
Plaintiff to suffer damage, including, but not limited to, attorney fees to contest
the complaints

d. Because of Defendants’ misrepresentations and Plaintiffs
reasonable reliance thereon, Plaintiff suffered damages, including the
necessary legal representation

e. The representations made by Defendants Were false,
constituting misrepresentations

f. These misrepresentations were manifested by
mischaracterizations in writings

g. Plaintiff reasonably_relied upon these misrepresentations to
her detriment

h. As a result of this reliance, Plaintiff has suffered additional
damage, including the payment of attomey’s fees

53. At all times relevant, Plaintiff was a consumer purchaser of the
credit offered by Countrywide, the predecessor in interest to BNY.

54. lt is believed and therefore averred that the misrepresentations
were intentional, or at least so recklessly made as to constitute intentional

fraudulent statements

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55. Defendants have, therefore, engaged in unfair trade practices to
consumers As such, Defendants are in violation of or have violated
Pennsylvania Statutes 73 P.S. § 201-1, erseq., and 73 P.S. § 2270.4(b)(5) ( and
73 P.S. § 2270.5).

57. 73 P.S. § 201-2(4) defines as an “unfair method of competition
and/or an “unfair or deceptive act”, at sub-section (xxi): “Engaging in any
other fraudulent or deceptive conduct which creates a likelihood of
confusion or of misunderstanding.”

58. The acts and action by defendants constitute such an unfair
method of competition and a deceptive and unfair act

59. 73 P.S. § 201-9.2 provides for a private action with
compensatory and statutory damages, to which Plaintiff is entitled

60. 73 P.S. § 2270.4 assets that unfair and/or deceptive practices
include:

a. 73 P.S. § 2270.4(a): lt is a violation of Pennsylvania’s
Unfair Trade Practices statute to have violated the FDCPA by a “debt
collector”; l

b. 73 P.S. § 2270.4(b)(5) provides: “A creditor may not
use any false, deceptive or misleading representation or means in connection

with the collection of any debt.”

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c. 73 P.S. § 2270.4(b)(6) provides “A creditor may not
use unfair or unconscionable means to collect or attempt to collect any
debt.”

d. 73 P.S. 2270.4(b)('6)(_i`) provides: “ (i) The collection of
any amount, including any in_terest, fee, charge or expense incidental to the
principal obligation, unless such amount is expressly authorized by the
agreement creating the debt or permitted by law.” y

61. Defendants have, therefore, engaged in misrepresentation and
fraudulent misrepresentation, and deceptive conduct, causing Plaintiff to suffer
damages as provided by statute.

WHEREFORE, Plaintiff prays this Honorable Court grant appropriate
damages, including,' but not limited to compensatory damages, statutory
damages, treble damages, punitive damages, attomey’s fees and costs,
interest and such other relief as the Court may deem appropriate

COUNT III - VIOLATION OF THE I)ISCHARGE
INJU_NCTION OF 11 U.S.C. § 524, SEEK[NG SANCTION FOR CIVIL
Q)_M..Yl

The averments of paragraphs one through and including sixty-one
above are incorporated herein by reference as set forth herein at length.

62. This Count Ill is an action for Civil Contempt seeking sanctions

on behalf of Plaintiff.

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63. l Defendants knew of the Orders issued by the United States-
Bankruptcy Court granting a discharge and Defendants were specifically
notified of the Plaintiff/s discharge

64. Defendants have failed to comply with the discharge order as it
pertained to Plaintiffs

65 The failure by Defendants to comply with the requirements of
the universal discharge order is knowing and intentional.

66. The failure by Defendants to comply with the requirements of
the universal discharge order was willful.

67. The mortgage debt that is the subject of this action was
discharged by the discharge of the underlying Note.

68. Defendants knew of the discharge orders

69. Defendant is in violation of the generic discharge order.

70. “Under § 524(a)(2), a discharge operates as an injunction
against a broad array of creditor efforts to collect debts as personal liabilities
of the discharged debtor.” See Joubert v. ABNAMRO Mortgage Group,
Inc., 411 F.3d 452, 2005 WL 1404699, *3 (3d. Cir. Pa. 2005).

71. Jurisdiction is conferred by the applicability of Title 11,
including, but not limited to, 11 U.S.C. § 524, through the injunctive and

contempt powers conferred by 11 U.S.C. § 105, inter alia.

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72. The United States District Court has original jurisdiction of
Title 11 matters as conferred by 28 U.S.C. § 1334.

73. “[This] Court [can] take remedial measures to enforce the
provisions [of section 524] and vindicate the rights of a discharged debtor in
the event a creditor ignores these essential protections afforded to debtors.i’
See fn re Contz`nental Airlines, -Inc., 236 B.R. 318, 331 (Bkrtcy. Del. 1999).

WHEREFORE, Plaintiff asks this Honorable Court find in her favor
and against Defendants and grant compensatory damages, punitive damages
Attorney’s fees and costs, and other such damages and relief as this Court
may deem appropriate

COUNT IV - CONSUMER FRAUD UNDER NEW JERSEY’S
CONSUM_E_R PROTECTION S'I`ATUTE

The averments of paragraphs one through and including forty-five above are
incorporated herein by reference as if set forth herein at |ength.

46. The conduct of Chase is and has been unconscionable and deceptive in
violation of the New Jersey Consumer Fraud Act, N.,].S.A. 56:8-1, et seq.

47. The conduct of Chase involves the imposition, assessment, debiting, or
other charge to the account of the Plaintiff and members of the Class of attorney‘s fees
and costs that are not permitted by law or contract. Generaily, these charges are made
sub silenti‘o, and the lack of disclosure is intended to preclude the mortgagors' ability and
timeliness to contest or object.

48. This conduct, constituting unfair trade practices and consumer fraud,

inciudes, but is not limited to:

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(a) Making false or misleading statements of fact, by silence or
otherwise, in writing and otherwise;

(b) Knowingly misrepresenting that the sums charged and that are the
basis of this Complaint is permissib|e, lawful and contractually permitted;

(c) Imposing these improper attorney's fees and costs without basis or
justification;

(d) Imposing these improper attorney's fees and costs knowingly in a
superior position to the mortgagors determined by the inherently perceived inferior
position of mortgagors;

(e) Imposing these improper attorney's fees and costs without having
provided services therefor, thus charging without basis or justification;

(f) Utilizing false and misleading characterizations for the amounts
claimed to be due for such charges, tending to mislead the consumer;

(g) Faiiing to disclose the imposition of such charges depriving the
consumer of a right to contest or object thereto ;

(h) Otherwise engaging in conduct deemed to constitute unfair trade
practices, unfair methods of competition, and other unfair or deceptive acts and
practices;

(i) Acting, using, and employing unconscionable commercial practices,
deceptionsr fraud, false pretenses and misrepresentations with Chase's knowing
concealment, suppression and omission of material facts;

(j) Attempting to collect and collecting attorney's fees and costs not
authorized by contract;

(i<) 'Attempting to collect and collecting attorney's fees and costs not
authorized by law.

49. As a result of the unconscionable and deceptive actions taken by the
Defendant, Chase, Plaintiff and each member of the Class has suffered ascertainable

|osses, thereby entitling them to an award of treble damages and attorney's fees.

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WHEREFORE, Plaintiff asks this Honorable Court to certify the Class naming
Plaintiff as the Class representative, and grant judgment in favor of Plaintiff and the Class
and against Defendant, Chase, and award compensatory damages, treble damages,
attorney's fees and costs and such other relief as this Honorable Court deems

appropriatel

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(i) Acting, using, and employing unconscionable
commercial practices, deceptions, fraud, false pretenses, and
misrepresentations with Chase’s knowing concealment, suppression and
omission of material facts;

(j) Attempting to collect these charges, fees and costs not
authorized by contract;

(k) Attempting to collect these charges, fees and costs not
authorized by law.

83. As a result of the unconscionable and deceptive actions taken
by the Defendants Plaintiff has suffered ascertainable losses, thereby
entitling them to an award of treble damages and attomey’s fees

WHEREFORE, Plaintiff asks this Honorable Court find in her favor
and against Defendants and grant compensatory damages, punitive damages,
statutory damages, attorney’s fees and costs, and other such damages and

relief as this Court may deem appropriate

Respe . lly submitted:

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